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                                          July 23, 2018, at the hour of 3:00 p.m.


DATED this 13th day of July, 2018.
